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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN

JANET DEMKO,

          Plaintiff,                        Case No.: 2:17-cv-13359-AC-APP
                                            Hon. Judge Avern Cohn
v.                                          Magistrate Judge Anthony P. Patti

FINANCIAL ASSISTANCE,
INCORPORATED,

          Defendant.

                            NOTICE OF SETTLEMENT

          Defendant, Financial Assistance, Incorporated (“Defendant”), by and

through undersigned counsel, hereby informs the court that a settlement of this

matter has been reached. The parties are finalizing settlement paperwork, which

should be completed within the next 30 days. Defendant therefore requests that this

Honorable Court vacate all dates currently set on calendar for this matter.



                                            Respectfully Submitted,

                                            /s/ Charity A. Olson
                                            Charity A. Olson (P68295)
                                            BROCK & SCOTT, PLLC
                                            2723 S. State St., Ste. 150
                                            Ann Arbor, MI 48104
                                            (734) 222-5179
Dated: February 13, 2018                    charity.olson@brockandscott.com




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                            CERTIFICATE OF SERVICE

       I, Charity A. Olson, hereby state that on February 13, 2018, I electronically
filed the foregoing document with the Clerk of the Court using the ECF system,
which will send notification of such filing to the attorneys of record.

                                  /s/ Charity A. Olson
                               Charity A. Olson (P68295)
                                BROCK & SCOTT, PLLC




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